Case 2:15-cv-04181-GW-FFM Document 26 Filed 08/24/15 Page 1 of 1 Page ID #:228

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                          WESTERN DIVISION                                       SOUTHERN DIVISION
                                          312 North Spring Street, Room G-8                    411 West Fourth Street, Suite 1053
                                               Los Angeles, CA 90012                              Santa Ana, CA 92701-4516
                                                Tel: (213) 894-3535                                     (714) 338-4750
                   C,

                                                                                                  EASTERN DIVISION
    TERRY NAFISI                                                                                3470 Twelfth Street, Room 134
District Court Executive and                     August 14, 2015                                     Riverside, CA 92501
       Clerk of Court                                                                                  (951) 328-4450

 Superior Court of California                                                                            FILED
                                                                                            CLERK, U.S. DISTRICT COURT
 Stanley Mosk Courthouse
 111 North Hill Street
 Los Angeles, CA 90012                                                                            AUG 24 2015
                                                                                        rD1i.lCY0F CAL1F0RMA
                                                                                        BY                 TY
 Re: Case Number: 2:1 5-cv-04 181 -GW-FFM
        Previously Superior Court Case No.       BC580778
        Case Name: The People of the State of California v. Wells Fargo and Company et at


Dear Sir! Madam:
     Pursuant to this Court’s ORDER OF REMAND issued on 08/13/2015                                                     the
above-referenced case is hereby remanded to your jurisdiction.

     Attached is a certified copy of the ORDER OF REMAND and a copy of the docket sheet from this
Court.

      Please acknowledge receipt of the above by signing the enclosed copy of this letter and returning it
to our office. Thank you for your cooperation.

                                                              Respectfully,

                                                              Clerk, U. S. District Court


                                                             By: L. Muraoka
                                                                 Deputy Clerk
                                                                                   213-894-1532
                                                             R Western 0 Eastern 0 Southern Division
cc: Counsel of record




                                                                                        L
Receipt is acknowledged of the documents described herein.


                                                             CkruP:Hoo

Date                                                               Deputy Cl‘erk
                                                                                   Iy
CV - 103(09/08)                  LETTER OF TRANSMITTAL - REMAND TO SUPERIOR COURT (CIVIL)
